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 7

 8
                                  IN THE UNITED STATES DISTRICT COURT
 9
                                     EASTERN DISTRICT OF CALIFORNIA
10

11   UNITED STATES OF AMERICA,                           CASE NO. 2:20-CR-219-WBS
12                                 Plaintiff,            STIPULATION TO CONTINUE STATUS
                                                         REGARDING SENTENCING; ORDER
13                           v.
                                                         DATE: June 13, 2022
14   ASHLEY MARIE AURICH,                                TIME: 9:00 a.m.
                                                         COURT: Hon. William B. Shubb
15                                Defendant.
16

17                                                STIPULATION

18          Plaintiff United States of America, by and through its counsel of record, and defendant, by and

19 through defendant’s counsel of record, hereby stipulate as follows:

20          1.       By previous order, this matter was set for a status conference regarding sentencing on

21 June 13, 2022. ECF No. 26.

22          2.       By this stipulation, the parties now move to vacate the June 13, 2022 sentencing hearing,

23 and request that the Court set this matter for a status conference regarding sentencing on September 26,

24 2022 at 9:00 a.m. On January 19, 2021, Aurich pleaded guilty to a one-count Information, pursuant to a

25 plea agreement containing a cooperation provision. Aurich’s cooperation is ongoing.

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      STIPULATION TO CONTINUE SENTENCING; ORDER           1
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            Case 2:20-cr-00219-WBS Document 29 Filed 06/08/22 Page 2 of 2


 1        IT IS SO STIPULATED.

 2

 3 Dated: June 7, 2022                                 PHILLIP A. TALBERT
                                                       United States Attorney
 4

 5                                                     /s/ ROSANNE L. RUST
                                                       ROSANNE L. RUST
 6                                                     Assistant United States Attorney
 7

 8 Dated: June 7, 2022                                 /s/ JOHNNY L. GRIFFIN, III
                                                       JOHNNY L. GRIFFIN, III
 9                                                     Counsel for Defendant
10                                                     ASHLEY MARIE AURICH

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12
                                                 ORDER
13
          IT IS SO FOUND AND ORDERED.
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          Dated: June 8, 2022
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     STIPULATION TO CONTINUE SENTENCING; ORDER     2
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